          Case 5:20-cv-00950-SLP Document 8 Filed 10/16/20 Page 1 of 1

                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

EDDIE DEWAYNE LEE,                        )
                                          )
       Petitioner,                        )
                                          )
v.                                        )        Case No. CIV-20-950-SLP
                                          )
SCOTT CROW,                               )
                                          )
       Respondent.                        )

                                        ORDER

       This matter is before the Court on the Report and Recommendation of United States

Magistrate Judge Suzanne Mitchell entered September 23, 2020 [Doc. No. 5]. Judge

Mitchell recommended that Petitioner’s Motion for Leave to Proceed In Forma Pauperis

be denied and that this action be dismissed without prejudice unless Petitioner pays the

filing fee in the amount of $5.00. The Court Docket reflects that Petitioner paid the filing

fee on October 16, 2020. Therefore, the Report and Recommendation is adopted in its

entirety. The Motion for Leave to Proceed In Forma Pauperis is denied and this matter is

re-referred to United States Magistrate Judge Suzanne Mitchell in accordance with the

original referral entered on September 21, 2020.

       IT IS SO ORDERED this 16th day of October, 2020.




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